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                 DECLARATION OF STEPHEN L. ANDERSON IN REPLY TO
 1
                 PLAINTIFF’S OPPOSITION TO MOTION TO SET ASIDE DEFAULT
 2
                I, Stephen L. Anderson hereby declare and attest as follows:
 3

 4              1. All statements contained in my prior declaration of August 11, 2021, filed in

 5   support of Plaintiff’s Opposition to Defendants’ Motion to Vacate the Clerks Entry of Default
 6
     against Defendant Miguel Flores was true and correct. I apologize for the oversight in failing
 7
     to physically sign such declaration.
 8

 9              2. I have attached the certificate of death for my mother, “Shelly Balloon” who we lost

10   in San Diego, on June 5, 2021. As indicated previously, I was unprepared for the emotional
11
     turmoil that this would cause.
12
                3. To this day, I remain closely under physician’s care and am taking several
13

14   prescription medications for a cranio-facial (ear and eye) infection and also for another

15   infection on my right buttocks which I described earlier. I have been referred to two specialists
16
     and remain under medication for severed IBD and gastrointestinal disease.
17
                4. Although I was embarrassed to say so, on June 11, 2021, my youngest child
18

19   underwent sex-change surgery in Tucson Arizona. For nearly a week, my wife was away

20   traveling for my child’s care while I took on several additional duties, visited several Doctors,
21
     and fell into a bout of depression.
22

23              5.          I do not understand why Plaintiff’s counsel has engaged in such aggressive

24   litigation tactics in this relatively de minimus case. Since the underlying Motion to Set Aside

25   was served, he unlawfully served an overbroad and highly objectionable subpoena which he

26   improperly persisted with and even improperly referred to in his client’s Opposition brief, he

27   has made vitriolic personal attacks on the undersigned and has even dredged up and filed with

28   this Court, highly scandalous, impertinent, immaterial and PLAINLY INADMISSIBLE

     ____________________________________________________________________________________________________________________________________________________________________
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 1   documents, arguments and red-herring series of statements plainly intended to embarrass, and
 2   harass the undersigned, namely relating to an incident (outside of the practice of law) that
 3   occurred more than TWENTY- ONE years ago. (Even a felony conviction of a person is
 4   inadmissible as character evidence under FRE 609), and the mention of these scandalous, yet
 5   long-forgotten matters was plainly presented to the Court without any consideration of FRE
 6   402, and without any substantial justification. Rather such contentions, (as well as other false
 7   and unsupportable contentions raised in the Opposition) were instead plainly submitted to this
 8   Court solely for improper and inflammatory purposes.
 9          6.     As an additional example of Plaintiff’s misstatements, within its Opposition to
10   Motion to Set Aside, and without any reasonable factual basis, Plaintiff contended that it
11   would be “severely prejudiced” if the Court were to set aside the default, (although the
12   Response and Default were filed on the very same day)! As purported grounds for its “severe
13   prejudice” Plaintiff contends that because Mr. Flores allegedly took down a single social
14   media post that contained a picture of the Michael Jordan card sold that he sold to Plaintiff,
15   and which Plaintiff has contended (although failed to demonstrate) is “counterfeit” or
16   otherwise illegal, constitutes an act of “spoliation” which somehow warrants an automatic
17   default against Defendant and an unwarranted and unestablished windfall for Plaintiff as the
18   result of the fact that Mr. Flores admitted sold this card to Plaintiff’s counsel, Ethan Litney.
19   In short, in this experienced counsel’s humble opinion, like his young case, Plaintiff’s young
20   counsel approach is unsavory and misguided.
21          7.     Next, Defendants (and I) vehemently object to the entire contents of Plaintiff’s
22   Opposition Brief, (Dkt. 11) from page 2 line,17 through and including page 7, line 17, (P. 2, l.
23   17 – P. 7, l. 17). There can be no doubt that such fatuous commentary labeled as “factual
24   history” has absolutely no relevance to the issue of why the Defendant’s Response to the
25   Amended Complaint filed herein on June 29, 2021 was not filed until August 10, 2021, the
26   same date that the Clerk’s Default was issued herein. Instead, Plaintiff’s counsel has chosen to
27   waste judicial resources with its relatively one-sided recount of correspondence between the
28   respective counsel which has no bearing on the delay nor does it suggest any grounds

     REPLY DECLARATION OF STEPHEN L. ANDERSON I/S/O MOTION TO VACATE DEFAULT
     1
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 1   supporting default. Top the contrary, Plaintiff’s statements only demonstrate that at all times,
 2   Defendant Flores and the undersigned counsel had every intention of challenging Plaintiff’s
 3   unsupported claims and allegations contained in its insufficient First Amended Complaint.
 4          8.     Finally, I cannot understand why Plaintiff chose to include the irrelevant
 5   declaration of Lacey Gribbel (Dkt. 11-5) as part of its Opposition materials, (other than as a
 6   self-serving attempt to slander and discredit the undersigned counsel), however, I did not raise
 7   my voice at Plaintiff’s counsel’s secretary at any time, particularly on September 14, 2021,
 8   (several weeks after Defendant’s Motion to Set Aside had been filed), and in my opinion, Ms.
 9   Gribble’s hearsay characterization of the call was not only untrue, the only thing that her
10   declaration actually establishes is (i) that Defendant seeks and continues to defend against
11   Plaintiff’s insufficient claims, assertions and misused subpoena power, and (ii) that Mr. Litney
12   continues to avoid any discussion of the matters related to this case, particularly including that
13   he has failed to make himself reasonably available to meet and confer on any issue, motion or
14   disagreement, nor even try to support any legal grounds for his invalid, premature and totally
15   improper and unauthorized subpoena emailed to the undersigned, despite my prior and
16   repeated voice mails, e-mails and detailed written correspondence directed to Mr. Litney on
17   this (and other subjects).
18          9.     In sum, I regrettably advise this Court that despite my best efforts to reasonably
19   communicate with Plaintiff’s counsel, to date, I have never known a more unreasonably
20   contentious, vexatious, uncivil and potentially unethical attorney at any time in my nearly 31
21   years of practice.
22          Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury pursuant to the laws of
23   the United States of America that the foregoing is true and correct.
24          Executed on this 8th day of October 2021.
25
                                                ___/StephenLAnderson_________
26                                                    Stephen L. Anderson
                                                      Attorney for Defendant
27
28

     REPLY DECLARATION OF STEPHEN L. ANDERSON I/S/O MOTION TO VACATE DEFAULT
     2
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